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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 JEFFREY JOEL JUDY,                               :
                                                  :
                        Plaintiff,                :
                                                  :       Case No. 2:08-CV-859
                                                  :
                                                  :       JUDGE ALGENON L. MARBLEY
 GIUSEPPE A PINGUE                                :       Magistrate Judge Abel
                                                  :
                        Defendant.                :
                                                  :

                                       OPINION AND ORDER

                                        I. INTRODUCTION

        This matter comes before the Court on the Defendant, Giuseppe A. Pingue’s (“Pingue”),

 Motion to Dismiss the Plaintiff, Jeffrey Joel Judy’s (“Judy”), Complaint for lack of Article III

 standing (Dkt. 29). For the reasons stated below, Pingue’s Motion to Dismiss is GRANTED.

                                        II. BACKGROUND

        This case is an action for declaratory and injunctive relief under Title III of the Americans

 with Disabilities Act (“ADA”), 42 U.S.C. § 12181 et seq. The specific claims in this case arise from

 Judy’s alleged visits to a property owned by Pingue during trips Judy took to Columbus, Ohio in

 2007 and 2008. Judy claims that when he visited Pingue’s property on Worthington Galena Road

 on both occasions, he encountered architectural barriers that prevented or impaired his access to

 shops located on the property in violation of Title III of the ADA.

                                     III. STANDARD OF REVIEW

        Pingue’s Motion to Dismiss was filed pursuant to Fed. R. Civ. P. 12(b)(1). The Sixth

 Circuit recognizes two kinds of motions to dismiss for lack of standing pursuant to Rule
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 12(b)(1): a facial attack and a factual attack. United States v. Ritchie, 15 F.3d 592, 598 (6th Cir.

 1994). A facial attack merely questions the sufficiency of the pleading. See id. In deciding a

 facial motion to dismiss, “the court must take the material allegations in the petition as true and

 construed in the light most favorable to the nonmoving party.” Id. A factual attack, on the other

 hand, is an attack on the factual existence of standing. See id. In deciding a factual motion to

 dismiss, “the court is free to weigh the evidence and satisfy itself as to the existence of its power

 to hear the case.” Id. In either case, “the plaintiff has the burden of proving jurisdiction in order

 to survive the motion.” Rogers v. Stratton Indus., 798 F.2d 913, 915 (6th Cir. 1986). Ping

 presents a factual attack in this case.

                                     IV. LAW AND ANALYSIS

         Pingue’s Motion to Dismiss challenges Judy’s standing to bring his ADA Title III

 Complaint. As an Article III court, this Court only has the power to resolve actual cases and

 controversies. U.S. Const. art. III, §2; Sprint Commc’ns Co., L.P. v. APPCC Servs., Inc., 128

 S.Ct. 2531, 2535 (2008). The case or controversy requirement is only satisfied if the Court can

 satisfy itself that the plaintiff has standing. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342

 (2006). Standing is evaluated based on the facts as they existed at the time the complaint was

 filed. Cleveland Branch, NAACP v. City of Parma, 263 F.3d 513, 524 (6th Cir. 2001).

         The party seeking federal court action has the burden of establishing standing. Rosen v.

 Tenn. Comm’r of Fin. & Admin., 288 F.3d 918, 927 (6th Cir. 2002). This burden increases as the

 litigation proceeds. Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992) (standing elements

 must be proven “with the manner and degree of evidence required at the successive stages of

 litigation”). As Pingue makes a factual attack upon Judy’s allegations of subject-matter


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 jurisdiction, generalized allegations of standing will not suffice. Ctr. For Biological Diversity v.

 Lueckel, 417 F.3d 532, 537 (6th Cir. 2005). Instead, Judy must “‘set forth specific facts,’ in

 affidavits or through other evidence, demonstrating that each element of standing is satisfied.”

 Id. (quoting Fed.R.Civ.P. 56).

        To satisfy the constitutional standing requirements a plaintiff must show that: “(1) [he]

 has suffered an ‘injury in fact’ that is (a) concrete and particularized and (b) actual or imminent,

 not conjectural or hypothetical; (2) the injury is fairly traceable to the challenged act of the

 defendant; and (3) it is likely, as opposed to merely speculative, that the injury will be redressed

 by a favorable decision." Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167,

 180–81 (2000). Where, as in this case, a plaintiff seeks injunctive relief, he must demonstrate

 that there is a non-speculative, imminent threat of repeated injury to establish that there is an

 injury in fact. City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983); Fieger v. Michigan

 Supreme Court, 553 F.3d 955, 966 (6th Cir. 2009). “Past exposure to illegal conduct does not in

 itself show a present case or controversy regarding injunctive relief, however, if unaccompanied

 by any continuing present adverse effects.” O’Shea v. Littleton, 414 U.S. 488, 495 (1974).

 “‘Because injunctions regulate future conduct, a party has standing to seek injunctive relief only

 if the party alleges, and ultimately proves, a real and immediate—as opposed to merely

 conjectural or hypothetical—threat of future injury.’” Church v. City of Huntsville, 30 F.3d 1332

 (11th Cir. 1994); accord Whitmore v. Arkansas, 495 U.S. 149, 158 (1990) (“A threatened injury

 must be certainly impending to constitute injury in fact” (internal quotation marks omitted)).

                                  A. ADA TITLE III STANDING




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        In the ADA context, a plaintiff must establish a likelihood of returning to the defendant’s

 business to demonstrate a real threat of future harm. See, e.g., Steger v. Franco, Inc., 228 F.3d

 889, 893 (8th Cir. 2000); Pickern v. Holiday Quality Foods, Inc., 293 F.3d 1133, 1137-38 (9th

 Cir. 2002); Molski v. Arby’s Huntington Beach, 359 F. Supp. 2d 938, 946 (C.D. Cal. 2005);

 Parr v. L & L Drive-Inn Rest., 96 F. Supp. 2d 1065, 1079–80 (D. Haw. 2000) (plaintiff must

 demonstrate a sincere intent to return); Davis v. Flexman, 109 F. Supp. 2d 776, 784 (S.D. Ohio

 1999) (patient lacked standing to seek injunctive relief under ADA where there was no evidence

 that she intended to return to the clinic). To determine whether an ADA plaintiffs’ likelihood of

 returning to defendant’s facility is sufficient to confer standing, courts have considered: “(1) the

 proximity of defendant’s business to plaintiff’s residence, (2) the plaintiff’s past patronage of

 defendant’s business, (3) the definitiveness of plaintiff’s plans to return, and (4) the plaintiff’s

 frequency of travel near defendant.” D'lil v. Stardust Vacation Club, No. 2:00-CV-01496, 2001

 WL 1825832, at *3 (E.D.Cal. Dec. 21, 2001); Vaughn v. Rent-a-Center, No. 2:06-CV-1207,

 2009 WL 723166 (S.D. Ohio March 16, 2009).

                 B. PINGUE’S FACTUAL ATTACK ON JUDY’S STANDING

        The crux of Pingue’s motion is that Judy does not have standing in light of the factors for

 determining whether Judy has shown a likelihood of returning to Pingue’s property.



                                1. Standing as a Jurisdictional Issue

        As a threshold matter, Judy maintains that this Court cannot decide a factual attack on

 standing premised on the issue of whether Judy is likely to return to Pingue’s property. Judy

 argues that the jurisdictional issue of his likelihood of returning is also an essential element of


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 his cause of action. He contends that this relationship makes the facts relating to the standing

 issue so intertwined with the merits that this Court’s fact-finding would be impermissible in light

 of the United States Supreme Court’s decision in Arbaugh v. Y & H Corp., 546 U.S. 500 (2006).



         In Arbaugh, the Supreme Court considered whether the employee-numerosity

 requirement for employment discrimination actions under Title VII of the Civil Rights Act of

 1964, 42 U.S.C. § 2000e-2(e), is a requirement for federal court jurisdiction or is merely a

 “substantive ingredient of a Title VII claim for relief.” Arbaugh, 546 U.S. at 503. Arbaugh

 involved a situation where the defendant-employer did not raise the employee-numerosity issue

 until two weeks after the trial court entered judgement on the merits for the plaintiff. Id. Citing

 the “unfairness” and the “waste of judicial resources” that would result from reading the

 requirement as jurisdictional, the Court held that employee numerosity is a substantive, not a

 jurisdictional, requirement for a Title VII employment discrimination claim. Id. at 515. Stating

 its rule more broadly, the Court held that “when Congress does not rank a statutory limitation on

 coverage as jurisdictional, courts should treat the restriction as nonjurisdictional in character.”

 Id. at 516 (emphasis added).

         The Arbaugh rule is not applicable to Pingue’s attack on Judy’s standing. Standing is not

 a statutory limitation on the scope of the ADA; it is a constitutional limitation on the power of a

 court. U.S. Const. art. III, §2; Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (“[S]tanding is

 an essential and unchanging part of the case-or-controversy requirement of Article III.”). Unlike

 in Arbaugh and the cases cited in Judy’s brief, the case at bar does not involve a question of

 whether a statute vests jurisdiction in the district court, but whether the action itself is a case or


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 controversy within the meaning of Article III. Cf Tackett v. M&G Polymers, USA, LLC, 561 F.3d

 478, 483–86 (determining that the actual breach of a collective bargaining agreement is not a

 jurisdictional prerequisite for a suit under the Labor Management Relations Act).

                                  2. Judy’s Standing in This Case

        In determining whether Judy has standing to bring this suit, the first factor for the Court

 to consider is whether the proximity of Pingue’s business to Judy’s residence makes it likely that

 Judy will return to Pingue’s business. Vaughn, at *6. It is undisputed that Pingue’s business is

 located in Columbus, Ohio and that Judy is a Florida resident. The plaintiff’s distance from the

 defendant’s place of business becomes especially significant when it is more than 100 miles. See

 Molski v. Mandarin Touch Restaurant, 385 F. Supp. 2d 1042, 1045 (D. Cal. 2005) (“[C]ourts

 have consistently held that it weighs against finding a reasonable likelihood of future harm”

 when the distance is more than 100 miles). In this case, Judy’s residence is more than 800 miles

 from Pingue’s place of business. The Court finds that distance makes it unlikely that Judy will

 return to Pingue’s business.

        The second factor is whether Judy’s past patronage of Pingue’s business makes it likely

 that he will return. Vaughn, at *7. Judy testified by affidavit that he visited the property in 2007

 and 2008, patronizing a Donatos Pizza restaurant during the 2008 visit. (Dkt 36-2). Judy attached

 a receipt from the 2008 visit to Donatos. Id. That receipt, however, is from a Donatos restaurant

 at 5288 North High Street, which is not part of Pingue’s property. Judy relied on his past

 patronage of Donatos restaurants in his opposition to Pingue’s Motion to Dismiss. (Dkt. 36, at

 6). Judy also claimed to have entered a nail salon during his visits to the property, but the only

 nail salon on the property has been closed since the year before Judy claims to have first visited


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 the property. (Dkt. 30, Exhibit D, Affidavit of Guiseppe A. Pingue). From Judy’s own

 submissions, the Court finds no indication of Judy’s past patronage of businesses on Pingue’s

 property that would raise a reasonable likelihood that Judy is likely to return.

         The third factor is the definitiveness of Judy’s plans to return. Vaughn, at *7. Judy need

 not express a concrete plan to return to Pingue’s establishment, but he must “assert[] some

 credible reason for his desire to return to the property in question.” Id. Judy has stated that he

 prefers Donatos pizza, enjoys shopping in Worthington, and has friends in the area. (Dkt. 36, 6).

 He cites to Access 4 All, Inc. v. Trump International Hotel, 458 F. Supp. 2d 160 (S.D.N.Y. 2006)

 as analogous. In that case, the district court found that a plaintiff who lived more than 1000

 miles from the defendant’s property showed a plausible intention to return where he

 demonstrated a desire to return to the Jean Georges restaurant. Access 4 All, at 169–70. The

 Court does not find that case even roughly analogous for two reasons. First, as discussed in the

 previous paragraph, Judy’s submissions raise a significant doubt as to whether he has even in

 fact patronized the Donatos restaurant at Pingue’s property. Second, Jean Georges at Trump

 Tower is a unique restaurant; a person who desires to go to Jean Georges necessarily desires to

 go to Trump Tower. Donatos Pizza is a chain restaurant; a desire to go to Donatos can be

 fulfilled at any number of locations. The Court finds that Judy’s expressed desires—to eat at

 Donatos, to shop in Worthington, and to visit friends—do not evidence a credible desire to return

 to Pingue’s property.

         The final factor is whether the frequency of Judy’s visits to Pingue’s property indicates

 that is it likely that Judy will return. Judy testified by affidavit that he visited the property in

 2007 and 2008. (Dkt 36-2). If the Court accepted only that testimony, that would establish a


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 frequency of once per year. On the other hand, Judy answered an interrogatory asking him to list

 the times that he visited the property in the previous five years by listing only the 2007 and 2008

 visits. (Dkt. 30, Exhibit C). That answer shows that the once-a-year frequency might be

 misleading. As a result, the Court finds that the frequency factor is neutral in this case.

        Because the factors in this case weigh against finding that Judy is likely to return to

 Pingue’s property, the Court finds that Judy does not have standing to bring this suit.

                                        C. “Tester” Standing

        Judy also argues that he has standing as an ADA tester. (Dkt 36, at 9). In the ADA

 context, a tester is a qualified individual with a disability who is testing an entity’s compliance

 with federal disability statutes. Tandy v. City of Wichita, 380 F.3d 1277, 1287 (10th Cir. 2004).

 Tester standing is generally available where the tester-plaintiff meets the Article III standing

 requirements. Havens Realty Corp. v. Coleman, 455 U.S. 363, 374-75 (1982). Both Judy and

 Pingue ask the Court to follow Tandy v. City of Wichita, in which the 10th Circuit recognized

 tester standing for a plaintiff under Title II of the ADA. Tandy, 380 F.3d at 1287. Without

 expressing any opinion on the question of whether tester standing exists under Title III of the

 ADA, the Court finds that Judy does not meet the requirements for tester standing.

        In Tandy, the Tenth Circuit found that the plaintiff had tester standing to seek prospective

 relief because “he [was] under a real an immediate threat of experiencing” the prohibited

 discrimination. Id. That was simply an application of the standing requirements applicable in all

 cases. Id. (citing City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983)). As discussed above,

 Judy has failed to establish that he has standing under those requirements. Any tester status that

 Judy might possess does not confer standing to seek prospective relief where he cannot show a


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 reasonable likelihood of returning to Pingue’s property. See, e.g., Steger v. Franco, Inc., 228

 F.3d 889, 893 (8th Cir. 2000); Pickern v. Holiday Quality Foods, Inc., 293 F.3d 1133, 1137–38

 (9th Cir. 2002); Molski v. Arby’s Huntington Beach, 359 F. Supp. 2d 938, 946 (C.D. Cal. 2005);

 Parr v. L & L Drive-Inn Rest., 96 F. Supp. 2d 1065, 1079-80 (D. Haw. 2000) (plaintiff must

 demonstrate a sincere intent to return); Davis v. Flexman, 109 F. Supp. 2d 776, 784 (S.D. Ohio

 1999) (patient lacked standing to seek injunctive relief under ADA where there was no evidence

 that she intended to return to the clinic).

                                          V. CONCLUSION

         For the foregoing reasons, the Court GRANTS Pingue’s Motion to Dismiss. This case is

 DISMISSED.1

         IT IS SO ORDERED.



                                               /s Algenon L. Marbley
                                               ALGENON L. MARBLEY
                                               UNITED STATES DISTRICT JUDGE
 Dated: November 25, 2009




         1
          In his Motion to Dismiss, Pingue also requested that all costs, including attorney fees,
 be assessed against Judy. Since Pingue identified no grounds for this Court to shift costs to Judy
 and the Court is not aware of any grounds for shifting costs, this Court DENIES Pingue’s
 request for costs to be assessed against Judy.

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